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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                      )
                                              )
V.                                            )       CASE NOS.: 4:19-CR-00219-3-BRW
                                              )                  4:21-CR-00215-1-BRW
CHRISTOPHER DAVID HIGGINS                     )


                    MOTION TO CONTINUE SENTENCING HEARING

       The Defendant, Christopher David Higgins, by and through his counsel, Erin Cassinelli,

states in support of his Motion to Continue Sentencing Hearing:

       1.       On May 8, 2019, the Grand Jury for the U.S. District Court for the Eastern District

of Arkansas returned an indictment charging Mr. Higgins with conspiracy to possess with intent

to distribute and to distribute methamphetamine in violation of 21 U.S.C. § 841(a)(1), (b)(1)(B)

and 21 U.S.C. § 846; and one count of distribution of methamphetamine in violation of 21 U.S.C.

§ 841(a)(1) and (b)(1)(C).

       2.       On September 16, 2019, Magistrate Judge Joe Volpe released Mr. Higgins on

conditions.

       3.       On September 2, 2021, the Grand Jury for the U.S. District Court for the Eastern

District of Arkansas returned a new indictment on Mr. Higgins charging him with possession of

firearms in violation of 18 U.S.C. § 922(g)(1) and 18 U.S.C. § 3147; and one count of possession

with intent to distribute less than 50 kilograms of a mixture and substance containing a detectable

amount of marijuana, a Schedule 1 controlled substance, in violation of 21 U.S.C. §841(a)(1) and

§841(b)(1)(D). Mr. Higgins subsequently entered pleas of not guilty and his cases have been

consolidated. He has been in custody since the return of the second indictment.




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       4.       On March 16, 2022, Mr. Higgins entered a plea of guilty to distribution of a

controlled substance (methamphetamine), in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C),

and possession of a firearm by a felon while on pretrial release, in violation of 18 U.S.C. §§

922(g)(1) and 3147. He is currently housed in the Phillips County jail awaiting sentencing, which

is scheduled for 2:00 PM on July 6, 2022.

       5.       In 2020, Mr. Higgins had surgery to remove part of his colon due to a bowel

abscess. During the surgery, two hernias were also discovered. Following the surgery, Mr.

Higgins’ stomach muscles did not heal properly, resulting in another hernia. For years he has been

waiting on a complex surgery to repair the hernia, which also requires Botox procedures on his

abdominal wall muscles to attempt to strengthen them approximately three weeks prior to any

surgery. The Court has previously granted Mr. Higgins temporary release for him to attend

medical appointments in preparation for this surgery. See Case No. 4:19-cr-00219-BRW at Doc.

99, 105, 110, and 118. Based on his improved A1C test results received this week, Mr. Higgins

anticipates he will be deemed fit for his surgery to proceed very soon.

       6.       Following the surgery, Mr. Higgins must abstain from lifting, pushing, or pulling

anything over 10lbs for a minimum of six weeks. His medical providers are recommending surgery

as soon as reasonably possible, as the problem is worsening and may become unrepairable. It is a

painful condition, and he will be in pain or heavily medicated before, during, and after surgery. It

is necessary to perform the surgery with the medical team who has evaluated Mr. Higgins over

time, as the procedure is complex, and it is doubtful that it could be adequately performed through

BOP outside medical services.

       7.       Mr. Higgins asks the Court to continue his sentencing date for six months to allow

time for his doctors to perform the operation and follow up appointments, and for him to



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sufficiently recover such that he can assist counsel and make informed and prudent decisions in

his case.

       8.       Assistant United States Attorney Benecia Moore has no objection to a continuance.

       WHEREFORE, the Defendant, Christopher David Higgins, asks the Court to continue his

sentencing hearing presently scheduled for 2:00 PM on July 6, 2022, and for any other relief the

Court deems appropriate.




                                                    Respectfully submitted,

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